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                            UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

In re CASSAVA SCIENCES, INC.             §
SECURITIES LITIGATION                    § Master File No. 1:21-cv-00751-DAE
                                         §
                                         § CLASS ACTION
This Document Relates To:                §
                                         §
         ALL ACTIONS                     §
                                         §
                                         §


 RESPONSE TO DEFENDANTS REMI BARBIER’S AND LINDSAY BURNS’ NOTICE
 OF JOINDER IN CASSAVA SCIENCES, INC. AND ERIC J. SCHOEN’S MOTION TO
                      STAY MERITS DISCOVERY

                               [FILED UNDER SEAL]




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         Lead Plaintiff Mohammad Bozorgi and additional plaintiffs Ken Calderone and Manohar

Rao (together, “Plaintiffs”) respectfully submit this Response to Defendants Remi Barbier’s and

Lindsay Burns’ Notice of Joinder (ECF 265) in Cassava Sciences, Inc. and Eric J. Schoen’s Motion

to Stay Merits Discovery. ECF 250.

         Barbier’s and Burns’s eleventh hour joinder changes nothing. Despite having the benefit

of Plaintiffs’ opposition to the motion to stay (ECF 257, the “Opp.”), Barbier and Burns offer

nothing of substance in their one sentence filing. First, Burns and Barbier still provide no evidence

that the Department of Justice is currently investigating them, let alone that an indictment is

imminent or even probable. See Opp. at 4-6. The motion therefore amounts to an impermissible

request for an indefinite stay. See id. Second, they do not dispute that: (i) there are numerous

relevant topics to which they could and would testify to in this case; or (ii) there are allegations in

this case that do not overlap with Dr. Wang’s indictment. See Opp. at 6-7. Third, they do not

dispute that their purported (but unsubstantiated)                               can be addressed by

an appropriate protective order. See Opp. at 8. Fourth, they do not claim that: (i) they would

suffer any prejudice in the absence of a stay; or (ii) they would be prejudiced if document discovery

and depositions of witnesses that have not invoked their Fifth Amendment rights were to continue.

See Opp. at 7-8, 10. Defendants’ request to stay all merits discovery is therefore vastly overbroad,

as well.

         In sum, defendants’ request to stay all merits discovery remains unsupported, overbroad,

and based on mere speculation, which is insufficient to meet their heavy burden of overcoming the

presumption in favor of allowing discovery to continue. See Opp. at 3-4. Defendants’ motion

should therefore be denied.




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 DATED: December 2, 2024             Respectfully submitted,

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